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                            Exhibit A
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        Walmart / Help Center / Walmart.com Terms of Use




             Walmart.com Terms of Use



        Last Updated May 15, 2024

        Please review these Terms of Use carefully.

        IMPORTANT: THESE TERMS OF USE CONTAIN A MANDATORY ARBITRATION PROVISION THAT, AS FURTHER SET
        FORTH IN SECTION 20 BELOW, REQUIRES THE USE OF ARBITRATION ON AN INDIVIDUAL BASIS TO RESOLVE
        DISPUTES. THIS MEANS THAT YOU AND WALMART ARE EACH GIVING UP THE RIGHT TO SUE EACH OTHER IN
        COURT OR IN CLASS ACTIONS OF ANY KIND. IN ARBITRATION, THERE IS NO JUDGE OR JURY AND THERE IS
        LESS DISCOVERY AND APPELLATE REVIEW THAN IN COURT.


        1. Introduction
        Welcome to the family of websites and applications provided by Walmart. These Terms of Use govern your access to
        and use of all Walmart Sites among other things. By using the Walmart Sites, you affirm that you are of legal age to
        enter into these Terms of Use, or, if you are not, that you have obtained parental or guardian consent to enter into
        these Terms of Use and your parent or guardian consents to these Terms of Use on your behalf. If you violate or do not
        agree to these Terms of Use, then your access to and use of the Walmart Sites is unauthorized. Additional terms and
        conditions apply to some services offered on the Walmart Sites (e.g., Walmart Pharmacy, Walmart +, and Gift Cards) or
        through other channels. Those terms and conditions can be found where the relevant service is offered on the Walmart
        Sites or otherwise and are incorporated into these Terms of Use by reference.

        DEFINED TERMS:

        In these Terms of Use:

                   When we say “Walmart,” we mean Wal-Mart.com USA, LLC and Walmart Inc., and any subsidiaries of Wal-Mart
                   Stores, Inc. (including any subsidiaries that Walmart Inc. may form or acquire in the future), and their affiliates,
                   directors, officers, employees and agents. We also refer to Walmart as “we,” “us” and “our.” But when we say
                   “Walmart Entities,” we mean Walmart; its suppliers, vendors, contractors, and licensors.
                   When we say “Walmart Sites,” we mean www.walmart.com, the Walmart Apps, and all related functionality,
                   (including but not limited to Chatbots and other Generative AI Features, defined in Section 16.J), services, and
                   Content offered by or for Walmart on or through www.walmart.com and the Walmart Apps or the systems,
                   servers, and networks used to make the Walmart Sites available.
                   When we say “Walmart Apps,” we mean the official “Walmart App” for iPhone and Android, which can be
                   downloaded from the iTunes App Store or the Google Play Store.
                   When we say “you” or “your” we mean any user (like you!) of any Walmart Site and any person who has notice of
                   these Terms of Use.
                   When we say “Terms of Use,” we mean these Terms of Use and all other terms and policies posted by Walmart on
                   the Walmart Sites (and any updates by Walmart to these Terms of Use and those terms and policies).
                   A few other key terms used in these Terms of Use:
                         When we say “Chatbot,” we mean an application feature or interface by which you are able to engage in
                         voice or text communications that are intended to mimic human interactions and conversations, including
                         through the use of Generative AI and third-party large language models.
                         When we say “Content,” we mean merchandise information, product descriptions, reviews, comments,
                         messages, reviews, communications, feedback, submissions, suggestions, questions, and other information,
                         data, content, and materials (including page headers, images, text, illustrations, formats, logos, hashtags,
                         designs, icons, photographs, software programs, music clips or downloads, video clips, written and other
                         materials and Inputs (as defined in Section 16.J).
                         When we say “Generative AI,” we mean artificial intelligence, including large language models made by us or
                         third parties, capable of generating new text, images, or other media.
                         When we say “Ideas,” we mean ideas, concepts, feedback, and know-how that you make available in
                         connection with the Walmart Sites.
                         When we say “make available,” we mean post, transit, publish, upload, distribute, transmit, display, provide,
                         or otherwise submit or make available (including through any part of the Walmart Sites administrated by
                         third-party social media platforms (e.g., Facebook or Instagram) that allow interaction with the Walmart
                         Sites through the tools offered by such social media platforms).
                         When we say “Materials,” we mean Content that Walmart Entities make available on or through the Walmart
                         Sites, including In Store Now information and Outputs (as defined in Section 16.J).

        WARRANTY DISCLAIMERS AND LIABILITY LIMITATIONS: While there are important points throughout these Terms
        of Use, please note the warranty disclaimers and limitations on Walmart’s liability explained in Sections 17 and 18,


https://www.walmart.com/help/article/walmart-com-terms-of-use/3b75080af40340d6bbd596f116fae5a0?gclsrc=aw.ds&adid=22222222254421687455&wmlspartner=wmtlabs&wl0=&wl1=g&wl2=c&wl3=314095497094&wl4=dsa-574015752130…   1/16
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        respectively.

        UPDATES: We may update these Terms of Use from time to time by notifying you of such changes by any reasonable
        means, including by posting a revised Terms of Use through the Walmart Sites. Any such changes will not apply to any
        dispute between you and us arising prior to the date on which we posted the revised Terms of Use incorporating such
        changes or otherwise notified you of such changes. You agree that it your responsibility to regularly check
        Walmart.com for any updated Terms of Use. In addition, by continuing to use or access any of the Walmart Sites or
        otherwise engaging with Walmart after we post any changes, you accept the updated Terms of Use. The “Last Updated”
        legend above indicates when these Terms of Use were last changed.


        2. Your Use of the Walmart Sites
        You certify that the Content you provide on or through the Walmart Sites is accurate and that the information you
        provide on or through the Walmart Sites is complete. You are solely responsible for maintaining the confidentiality and
        security of your account including username, password, and PIN. Walmart is not responsible for any losses arising out of
        the unauthorized use of your account. You agree that Walmart does not have any responsibility if you lose or share
        access to your device. Any agreement between you and the issuer of your credit card, debit card, or other form of
        payment will continue to govern your use of such payment method on the Walmart Sites. You agree that Walmart is not
        a party to any such agreement, nor is Walmart responsible for the content, accuracy, or unavailability of any method
        used for payment. Your account may be restricted or terminated for any reason, at our sole discretion. Except as
        otherwise provided by law, at any time without notice to you, we may (1) change, restrict access to, suspend, or
        discontinue the Walmart Sites or any portion of the Walmart Sites, and (2) charge, modify, or waive any fees required to
        use any services, functionality or other content available through the Walmart Sites or any portion of the Walmart Sites.

                   In connection with the Walmart Sites, you will not:
                         Make available any Content through or in connection with the Walmart Sites that is or may be in violation of
                         the content guidelines set forth in Section 3.C (Prohibited Content) below.
                         Make available through or in connection with the Walmart Sites any virus, worm, Trojan horse, Easter egg,
                         time bomb, spyware, or other computer code, file or program that is or is potentially harmful or invasive or
                         intended to damage or hijack the operation of, or to monitor the use of, any hardware, software, or
                         equipment.
                         Use the Walmart Sites for any commercial purpose, or for any purpose that is fraudulent or otherwise
                         tortious or unlawful.
                         Harvest or collect information about users of the Walmart Sites.
                         Interfere with or disrupt the operation of the Walmart Sites or the systems, servers, or networks used to
                         make the Walmart Sites available, including by hacking or defacing any portion of the Walmart Sites; or
                         violate any requirement, procedure or policy of such servers or networks.
                         Restrict or inhibit any other person from using the Walmart Sites.
                         Reproduce, modify, adapt, translate, create derivative works of, sell, rent, lease, loan, timeshare, distribute,
                         or otherwise exploit any portion of (or any use of) the Walmart Sites except as expressly authorized in these
                         Terms of Use, without Walmart’s express prior written consent.
                         Reverse engineer, decompile, or disassemble any portion of the Walmart Sites, except where such
                         restriction is expressly prohibited by applicable law.
                         Remove any copyright, trademark, or other proprietary rights notice from the Walmart Sites.
                         Frame or mirror any portion of the Walmart Sites, or otherwise incorporate any portion of the Walmart
                         Sites into any product or service, unless you obtain Walmart’s express prior written consent to do so.
                         Systematically download and store any Materials.
                         Use any robot, spider, site search/retrieval application or other manual or automatic device to retrieve,
                         index, “scrape,” “data mine” or otherwise gather any Materials, or reproduce or circumvent the navigational
                         structure or presentation of the Walmart Sites, without Walmart’s express prior written consent.
                         Cause injury to any person or entity.
                         Violate any law, rule, or regulation, or these Terms of Use.
                   You will not use the Walmart Sites or Walmart’s name, logo, or brand to (1) send any unsolicited or unauthorized
                   Content, including advertising, promotional materials, email, junk mail, spam, or other form of solicitation; or (2)
                   use any meta tags or other hidden text or metadata utilizing a Walmart trademark, logo, URL, or product name
                   without Walmart’s written consent;
                   You will not attempt to do anything, or permit, encourage, assist, or allow any third party to do anything,
                   prohibited in this Section, or attempt, permit, encourage, assist, or allow any other violation of these Terms of
                   Use.


        3. Content and Ideas
        A. Submitting Content and Ideas

        Walmart provides functionality that enables users to make available Content and Ideas in connection with their use of
        the Walmart Sites. Any text in Content should be written in English. You acknowledge and agree that you are
        responsible for all Content and Ideas you make available in connection with any Walmart Site. You represent and
        warrant that (1) you have the authority to grant the rights in such Content and Ideas as set forth in these Terms of Use,

https://www.walmart.com/help/article/walmart-com-terms-of-use/3b75080af40340d6bbd596f116fae5a0?gclsrc=aw.ds&adid=22222222254421687455&wmlspartner=wmtlabs&wl0=&wl1=g&wl2=c&wl3=314095497094&wl4=dsa-574015752130…   2/16
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        including in Section 3(B) below; and (2) such Content and Ideas, and the use of such Content and Ideas, will not violate
        any term of these Terms of Use. This means you will be responsible for the legality, the accuracy, the appropriateness,
        the originality, and your rights in any such Content and Ideas.

        B. Walmart’s Rights to Use Content and Ideas

        You grant to Walmart a royalty-free, perpetual, irrevocable, worldwide, unlimited, nonexclusive license to use,
        reproduce, create derivative works from, modify, publish, edit, translate, distribute, perform and display (publicly or
        otherwise) any Content that you make available, in any media or medium, and in any form, format, or forum now known
        or hereafter developed. You further agree that Walmart is free to use any Ideas for any purpose. Walmart may
        sublicense its rights in Content and Ideas through multiple tiers of sublicenses. Walmart is, and will be, under no
        obligation (1) to maintain any Content or Idea in confidence; (2) to pay any compensation for any Content or Idea; or (3)
        to respond to any Content or Idea. You grant to Walmart the right to use any name associated with any Content or Idea
        that you make available to Walmart, although Walmart has no obligation to exercise such right, or to otherwise provide
        any attribution for any Content or Idea.

        C. Prohibited Content

        You agree that you will not make available Content in connection with the Walmart Sites that:

                   is false, fraudulent, inaccurate, or misleading;
                   contains your full name(s), or any other confidential personally identifiable information of yourself or others;
                   violates any local, state, federal, or international laws or is otherwise tortious;
                   is protected by or would infringe on the rights of others (including Walmart), including any patent, copyright,
                   trademark, trade secret, right of publicity or privacy, or any other proprietary right, without the express prior
                   written consent of the applicable owner;
                   is obscene, indecent, pornographic, or otherwise objectionable;
                   is derogatory, defamatory, threatening, harassing, abusive, slanderous, hateful, or embarrassing to any other
                   person or entity as determined by Walmart in its sole discretion;
                   victimizes, harasses, degrades, or intimidates an individual or group of individuals on the basis of religion, gender,
                   sexual orientation, race, ethnicity, age or disability;
                   is violent or threatening, or promotes violence against, or actions that are threatening to, any individual or group;
                   contains advertisements, solicitations, or spam links to other web sites or individuals, without prior written
                   permission from Walmart;
                   contains or relates to chain letters or pyramid schemes;
                   impersonates another business, person, or entity, including Walmart, its related entities, employees, and agents;
                   violates any policy posted on the Walmart Sites; or
                   is intended to cause harm, damage, disable, or otherwise interfere with the Walmart Sites or our partners.


        4. Monitoring by Walmart
        Walmart will have the right (but not the obligation), in our sole discretion, to monitor, evaluate, and analyze Content,
        and any use of and access to the Walmart Sites, including to determine compliance with these Terms of Use and any
        other operating rules that may be established by Walmart from time to time. Walmart will also have the right (but not
        the obligation), in our sole discretion, to edit, move, delete, or refuse to make available any Content made available
        through, the Walmart Sites, for any reason, including violation of these Terms of Use, whether for legal or other
        reasons. Despite this right of ours, you are solely responsible for any Content you make available, and you agree to
        indemnify Walmart for all claims resulting from any Content you make available.


        5. Materials Available on the Walmart Sites
        Walmart and its suppliers and licensors may make available various Materials. The Materials are for educational and
        informational purposes only, and errors may appear from time to time. Before you act in reliance on any Materials, you
        should confirm any facts that are important to your decision. The Walmart Entities make no warranty as to the
        reliability, accuracy, timeliness, usefulness, or completeness of any Materials. If you find an error or notice something
        that does not look quite right on the Walmart Sites, we would appreciate it if you let us know by contacting us at
        http://www.walmart.com/help (Your feedback is a big part of what helps Walmart to get better at helping you!)

        NO MATERIALS RELATED TO HEALTH, WELLNESS, PRESCRIPTIONS, OR PHARMACEUTICALS ARE INTENDED TO
        SUBSTITUTE FOR THE DIAGNOSIS, TREATMENT AND ADVICE OF A MEDICAL PROFESSIONAL, AND SUCH
        MATERIALS DO NOT COVER ALL POSSIBLE USES, PRECAUTIONS, SIDE EFFECTS, AND INTERACTIONS, AND
        SHOULD NOT BE CONSTRUED TO INDICATE THAT ANY DRUG IS SAFE OR EFFECTIVE FOR YOU. CONSULT THE
        PRODUCT INFORMATION (INCLUDING PACKAGE INSERTS) REGARDING DOSAGE, PRECAUTIONS, WARNINGS,
        AND INTERACTIONS, AND YOUR MEDICAL PROFESSIONAL, FOR GUIDANCE BEFORE USING ANY
        PRESCRIPTION OR OVER-THE-COUNTER DRUG.

        THE WALMART ENTITIES ASSUME NO RESPONSIBILITY FOR ANY CONSEQUENCE RELATING DIRECTLY OR
        INDIRECTLY TO ANY ACTION OR INACTION YOU TAKE BASED ON THE MATERIALS.


https://www.walmart.com/help/article/walmart-com-terms-of-use/3b75080af40340d6bbd596f116fae5a0?gclsrc=aw.ds&adid=22222222254421687455&wmlspartner=wmtlabs&wl0=&wl1=g&wl2=c&wl3=314095497094&wl4=dsa-574015752130…   3/16
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        6. Merchandise
        The Sites may make available listings, descriptions, and images of goods and services (collectively, “Products”). Such
        Products may be made available by us or by third parties. We make no representations as to the completeness,
        accuracy, reliability, validity, or timeliness of such listings, descriptions, or images (including any features, specifications,
        and prices contained on the Sites). Such information and the availability of any Product are subject to change at any
        time without notice.

        We have made efforts to accurately display the attributes of Products, including the applicable colors. However, as the
        actual colors you see will depend on your monitor, we cannot guarantee that your monitor's display of any color will
        accurately reflect actual product color or finish. In addition, certain weights, measures, and similar descriptions are
        approximate and are for convenience only.

        We sell Products for children’s use; however, these Products are intended for sale to adults.

        Walmart has no liability to you for content on the Walmart Sites that you find to be offensive, indecent, or
        objectionable. Certain videos, movies, TV programs, video games, computer games, and other Products are labeled
        with age restrictions or are intended for individuals of certain ages or “mature audiences” only. By ordering an age
        restricted item, you certify that you satisfy the age restrictions.

        Walmart is not responsible for, and cannot guarantee the performance of, goods and services provided by third parties,
        including any Walmart Entity, Marketplace Retailer (as defined below in Section 16.A), our advertisers, or other third
        parties to whose sites we link. While our goal is to provide accurate information, product packaging and material may
        contain more and/or different information than that provided on Walmart Sites, including the product description,
        country of origin, nutrition, ingredient, allergen, and other information. Always read labels, warnings, directions, and
        other information provided with the product before using or consuming the product. For additional information about a
        product, please contact the manufacturer. Information and statements regarding dietary supplements have not been
        evaluated by the Food and Drug Administration and are not intended to diagnose, treat, cure, or prevent any disease or
        health condition. If you find a product is not as described, your sole remedy is to return it in unused condition
        (excluding products that are not eligible for return), in accordance with Walmart’s return policy. It is your responsibility
        to ascertain and obey all applicable local, state, federal, and foreign laws (including minimum age requirements)
        regarding the purchase, possession, and use of any Product.


        7. Third Party Sites
        References on Walmart Sites to any names, marks, products, or services of third parties, or links to third-party sites or
        information, are not an endorsement, sponsorship, or recommendation of the third party or its information, products,
        or services. Walmart is not responsible for the content of any third-party linked site or any link contained in a linked site,
        including any third-party social media or mobile app platform with which the Walmart Sites operate or otherwise
        interact, nor is Walmart responsible for the acts or omissions of any operator of any such site or platform. Your use of
        any such third-party site or platform is at your own risk, and will be governed by such third party's terms and policies
        (including its privacy policy).


        8. Placing an Order
        A. Order Acceptance and Billing

        You represent and warrant that you have the right to use any credit card or other means of payment that you provide to
        us. By providing payment card information to us, you authorize us to store and use the card as a payment method for
        purchases made through your Walmart.com account, including on Walmart affiliated sites and properties which you
        access via your Walmart.com account credentials. Walmart participates in account update services offered by some
        banks. If your bank participates in account updater services, these services will automatically update your card number
        or expiration date in our system when it changes. If you do not want to have your cards automatically updated, you can
        opt out of these services by contacting your issuing bank. All billing information you provide to us must be truthful and
        accurate. Providing any untruthful or inaccurate information is a breach of these Terms of Use and may result in
        cancellation of your order. Prior to accepting an order we may also request additional information from you.
        Verification of information may be required prior to the acknowledgment or completion of any purchase. We reserve
        the right to refuse or cancel an order for any reason including limitations on quantities available for purchase,
        inaccuracies, or errors in product or pricing information, or problems identified by our credit and fraud avoidance
        department. If your order is canceled after your credit card (or other payment account) has been charged, we will issue
        a credit to your credit card (or other applicable payment account) in the amount of the charge. We will attempt to
        contact you if all or any portion of your order is canceled or if additional information is required to accept your order.
        Walmart may request a pre-authorization for some orders placed online with a credit or debit card. This pre-
        authorization will not be billed to you; however, your card issuer may hold this amount for a short period. Your card
        issuer determines the length of time the pre-authorization is held. We do this to ensure that the card details are still
        valid and that you have sufficient funds to complete the transaction.




https://www.walmart.com/help/article/walmart-com-terms-of-use/3b75080af40340d6bbd596f116fae5a0?gclsrc=aw.ds&adid=22222222254421687455&wmlspartner=wmtlabs&wl0=&wl1=g&wl2=c&wl3=314095497094&wl4=dsa-574015752130…   4/16
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        By confirming your purchase at the end of the checkout process, you agree to accept and pay for the Products, as well
        as all shipping and handling charges and applicable taxes and fees. You will not be charged for most orders until the
        order has shipped. Some exceptions (when you will be charged at the time your order is placed) are: (i) orders or
        preorders paid for with a Gift Card, eGift Card, or PayPal account; and (ii) orders paid using the in-store “Cash”
        payment method.

        Walmart reserves the right, including without prior notice, to limit the quantity of items purchased per person, per
        household, or per order for any reason. We will attempt to notify you should such limits be applied. Walmart also
        reserves the right, at our sole discretion, to prohibit sales to dealers or resellers. For purposes of these Terms of Use,
        “reselling” will be defined as purchasing or intending to purchase any Product(s) from Walmart for the purpose of
        engaging in a commercial sale of the same Product(s) to a third party.

        In addition to any other remedies available to it, Walmart may in its sole discretion restrict or terminate your account,
        or cancel or refuse orders for violations of, or abuse of the Walmart returns policy.

        B. Pricing Information; Availability

        Walmart cannot confirm the price or availability of an item until after your order is placed. Pricing or availability errors
        may occur on the Walmart Sites or through Marketplace Retailers. The receipt of an order confirmation does not
        constitute our acceptance of an order or our confirmation of an offer to sell a Product. Walmart reserves the right to
        cancel any orders containing pricing or availability errors, with no further obligations to you, even after your receipt of
        an order confirmation or shipping notice from Walmart. Walmart may, at its discretion, either contact you for
        instructions or cancel your order and notify you of such cancellation. Pricing for products may be different on the
        Walmart Sites or from prices available in Walmart stores or on Walmart Apps.

        C. Promotional Codes

        Promotional codes are limited in nature and may expire or be discontinued with or without notice. Promotional codes
        are void where prohibited by law. Promotional codes may not be copied, sold, or otherwise transferred. They are not
        redeemable for cash and are subject to cancellation or change at any time for any reason without notice. We reserve
        the right in our discretion to impose conditions on the offering of any promotional code.

        D. Gift Cards

        The risk of loss and title to any gift cards passes to the purchaser upon our electronic transmission to the recipient or
        delivery to the carrier, whichever is applicable. Your purchase and use of gift cards is subject to the full terms and
        conditions related to gift cards, available at https://walmart.com/help/article/Gift-Card-Terms-and-
        Conditions/9881a4e10ab24dbe8f406df5c75acefd.

        E. Tax Exempt Purchases

        To obtain tax-exempt purchasing privileges for purchases on Walmart.com, you must follow the tax-exempt registration
        procedure as described on the Site. As part of this process, you may be required to provide additional information to
        Walmart to confirm your tax-exempt status (for example, a valid state tax-exempt number). You represent and warrant
        that any information you provide to Walmart as part of the tax-exempt registration process is valid, accurate, and
        complete. You will promptly notify Walmart of any updates or changes to your tax-exempt status and will promptly
        provide Walmart with any updated information or documentation. If you purchase any products or services for a tax-
        exempt purpose and use those products or services for any other purpose, you will report and pay all taxes required
        under applicable law. If you are a tax-exempt organization, all tax-exempt purchases must be used exclusively by your
        organization for tax-exempt purposes only. You will comply with all other applicable requirements for tax-exempt
        purchases under applicable law. You will hold Walmart harmless from and will indemnify Walmart against any claim, loss
        or expense occurring from any failure to comply with your resale permits or any other tax-exempt requirements, and
        your exemption will be subject to immediate cancellation.

        You further agree that if you do not use the products or services purchased with your tax-exempt account for the
        purpose for which your tax exemption applies, you will report and pay sales and use taxes directly to the state relating
        to the products or services to the extent required by law. In order to qualify for exemption, you may be required by law
        to pay us using your organization’s payment method (e.g., a company credit card) and not a personal payment method
        (e.g., a personal credit card). To the extent you have a Business Account, you acknowledge that if you, or any business
        user accounts associated with your Business Account, make tax exempt purchases with a tax exemption certificate
        associated with the Business Account, that those purchases are made with the tax-exempt organization’s funds. You will
        comply with such requirement to the extent required by law.


        9. Shipping and Delivery
        Products will be shipped to an address designated by you, if applicable, so long as such address is complete and
        complies with the shipping restrictions contained on the Walmart Sites. All transactions are made pursuant to a shipping
        contract, and, as a result, risk of loss and title for Products pass to you upon delivery of the Products to the carrier.



https://www.walmart.com/help/article/walmart-com-terms-of-use/3b75080af40340d6bbd596f116fae5a0?gclsrc=aw.ds&adid=22222222254421687455&wmlspartner=wmtlabs&wl0=&wl1=g&wl2=c&wl3=314095497094&wl4=dsa-574015752130…   5/16
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        Delivery of Products purchased from the Walmart Sites to addresses outside the United States is limited. Some
        Products also have restricted delivery within the United States. Some Products may be available for pick up at physical
        Walmart store locations. Estimated delivery times are determined based on the method of shipping chosen when
        Products are purchased and the destination of the Products.


        10. Export Policy
        You acknowledge that (a) goods licensed or sold on the Walmart Sites, and (b) any software or technology purchased,
        downloaded, or used from the Walmart Sites, are subject to the customs and export control laws and regulations of the
        United States of America and may also be subject to the customs and export laws and regulations of the country in
        which the products are manufactured and/or received, and you agree to comply with all applicable laws. You agree,
        represent, and warrant that no Materials will be accessed from, downloaded in, released in, carried to, transferred to,
        transshipped through, exported to, or re-exported (collectively “transferred”) to any territory (or national resident
        thereof), person, entity, or organization to which such Materials could not be transferred directly from the United
        States or by a U.S. person without a license, including without limitation to any person on the U.S. Treasury
        Department’s List of Specially Designated Nationals or the U.S. Department of Commerce’s Denied Persons List or
        Entity List.


        11. Intellectual Property
        The Walmart Sites and all Materials, and all copyrights, trademarks, trade dress, and other intellectual property rights
        therein (collectively, the “IP”) are owned or controlled by or licensed to Walmart, and are protected by U.S. and
        international trademark, copyright, and other intellectual property laws. Materials are licensed (not sold) to end users.
        Subject to your compliance with these Terms of Use, and solely for so long as you are permitted by Walmart to use the
        Walmart Sites, you may access, view, download, and print the Materials for your personal, non-commercial use only;
        provided, however, that you (1) retain all copyright, trademark, or other proprietary designations contained on all
        Materials; (2) do not modify or alter the Materials in any way; and (3) do not provide or make available the Materials to
        any third party in a commercial manner. In addition, subject to your compliance with these Terms of Use, and solely for
        so long as you are permitted by Walmart to use the Walmart Apps, we permit you, on a limited, non-exclusive,
        revocable, non-transferable, non-sublicensable basis, to install and use the Walmart Apps on a mobile device that you
        own or control, solely for your personal, non-commercial use. If you fail to comply with any of the terms or conditions
        of these Terms of Use, you must immediately cease using the Walmart Apps and remove (that is, uninstall and delete)
        the Walmart Apps from your mobile device.

        No license, right, title, or interest in the Walmart Sites or any Materials is transferred to you as a result of your use of
        the Walmart Sites or your accessing, viewing, downloading, or printing of the Materials. You may not reproduce (except
        as noted above), publish, transmit, distribute, display, modify, create derivative works from, sell, or participate in any
        sale of or exploit in any way, in whole or in part, any of the Materials or the Walmart Sites. The Walmart Sites and
        Materials may be used only as a personal shopping resource. Any other use, including the reproduction, modification,
        distribution, transmission, republication, display, or performance, of the Walmart Sites and the Materials is strictly
        prohibited. The compilation (meaning the collection, arrangement, and assembly) of the Walmart Sites and Materials is
        the exclusive property of Walmart and is also protected by U.S. and international copyright laws.

        WALMART, WAL-MART, the WALMART.COM names and logos, and all other graphics, logos, page headers, button
        icons, scripts, and service names included in or made available through any of the Walmart Sites are trademarks or
        trade dress of Walmart in the U.S. and other countries. All other marks are the property of their respective companies.


        12. Procedure for Making a Claim of Copyright Infringement
        We respect the intellectual property of others. If you believe that your work has been copied and is accessible on the
        Walmart Sites in a way that constitutes copyright infringement, please see our DMCA Procedure (available at
        https://walmart.com/help/article/Claims-of-Intellectual-Property-Infringement/6171b9ac00384f3f920aa14a9c08bdac)
        for instructions on how to contact us to report possible copyright infringement.


        13. Privacy
        You acknowledge that any personal information that you provide through the Walmart Sites will be used by Walmart in
        accordance with Walmart’s Privacy Policy (available at http://corporate.walmart.com/privacy-security/walmart-privacy-
        policy), which may be updated by Walmart from time to time. If you purchase an item on Walmart.com sold by a
        Marketplace Retailer or a Walmart supplier, Walmart may share certain information with that Marketplace Retailer or
        supplier to permit the Marketplace Retailer or supplier, as applicable, to fulfill and ship your order, process returns, and
        provide customer service.

        You authorize your wireless operator (AT&T, Sprint, T-Mobile, US Cellular, Verizon, or any other branded wireless
        operator) to disclose to Walmart and its third-party service providers your mobile number, name, address, email,
        network status, customer type, customer role, billing type, mobile device identifiers (IMSI and IMEI) and other



https://www.walmart.com/help/article/walmart-com-terms-of-use/3b75080af40340d6bbd596f116fae5a0?gclsrc=aw.ds&adid=22222222254421687455&wmlspartner=wmtlabs&wl0=&wl1=g&wl2=c&wl3=314095497094&wl4=dsa-574015752130…   6/16
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        subscriber status and device details, if available, solely to verify your identity and prevent fraud for the duration of the
        business relationship. See the Walmart Privacy Policy for how Walmart treats your data.


        14. Third-Party Software & Licensing Notices
        The Walmart Sites may include certain third-party technologies and open source materials (collectively, “Third-Party
        Technology”). Your use of such Third-Party Technology is subject to these Terms of Use, as well as well the applicable
        terms and conditions of such third parties, set forth at https://walmart.com/help/article/Third-party-Software-and-
        Licensing-Notices/a5b3802e3c424fc9ac6872ea93e1c4c5 which is incorporated in these Terms of Use by reference.


        15. Promotions
        Any sweepstakes, contests, raffles, surveys, games, or similar promotions (collectively, “Promotions”) made available
        through the Walmart Sites may be governed by rules that are separate from or supplement these Terms of Use. If you
        participate in any Promotions, please review the applicable rules as well as our Privacy Policy. If the rules for a
        Promotion conflict with these Terms of Use, the Promotion rules will govern.

        TRIPLE10 promo code: Valid only for your first 3 orders with Walmart pickup & delivery services. Minimum order of
        $50. Does not apply to alcohol purchases. Customer responsible for all applicable taxes. Offer subject to change or
        expire without notice.

        TRIPLE20 promo code: Select customers only. Valid only for your next 3 orders with Walmart pickup & delivery
        services. Minimum order of $50. Does not apply to alcohol purchases. Customer responsible for all applicable taxes.
        Offer subject to change or expire without notice.

        REDBULL1 promo code: Valid only for your first 3 orders with Walmart pickup & delivery services. Minimum order of
        $50. Does not apply to alcohol purchases. Customer responsible for all applicable taxes. Promotion code expires
        December 31, 2023. Offer subject to change or expire without notice.

        10OFF3 promo code: Valid only for your first 3 orders with Walmart pickup & delivery services. Minimum order of $50.
        Does not apply to photo, personalized items, pharmacy, gift cards, alcohol, or items sold by Marketplace sellers.
        Customer responsible for all applicable taxes. Cannot be combined with other special offers. Promotion code expires
        January 31, 2024. Offer subject to change or expire without notice.

        SAVE10 promo code: Get $10 off on eligible Flash Deals items over $50 between June 26, 2023 and July 31, 2023. Limit
        one per customer. Offer is not transferable, may not be combined with other offers, and is void where prohibited by
        law. Customer responsible for all applicable taxes. Offer may be modified, canceled, or terminated at any time without
        notice.

        HOLIDAY10: Valid only for your first 3 orders with Walmart pickup & delivery services. Minimum order of $50. Discount
        will be applied to your total basket value, excluding photo, personalized items, pharmacy, gift cards, alcohol or items
        sold by Marketplace sellers. This offer can’t be used for photo, personalized items, pharmacy, gift cards, alcohol or
        items sold by Marketplace sellers. Customer responsible for all applicable taxes. This offer may not be combined with
        other special offers. Promotion code expires 12/31/2023. Offer subject to change or expire without notice.

        TODAY10 promocode: Valid only for your first 3 orders with Walmart pickup & delivery services. Minimum order of $50.
        Discount will be applied to your total basket value, excluding photo, personalized items, pharmacy, gift cards, alcohol or
        items sold by Marketplace sellers. This offer can’t be used for photo, personalized items, pharmacy, gift cards, alcohol
        or items sold by Marketplace sellers. Customer responsible for all applicable taxes. This offer may not be combined with
        other special offers. Promotion code expires 12/31/2024. Offer subject to change or expire without notice.


        16. Terms Applicable to Special Walmart Services
        A. Walmart Marketplace

        Walmart operates an online marketplace program on the Walmart Sites (available at https://marketplace.walmart.com/)
        which enables Marketplace Retailers to sell their products alongside Walmart products and, once an order is placed, to
        ship such Marketplace Retailers’ products directly to the customer (the “Walmart Marketplace”). Any use of the
        Walmart Marketplace is subject to the following additional terms:

                   When we say “Marketplace Retailer,” we mean any entity or retailer that sells goods or services in the Walmart
                   Marketplace through the Walmart Sites, uses any order processing, fulfillment, shipping, or other services related
                   to the Walmart Marketplace provided by or for Walmart, or uses any platform, portal, web service, application,
                   interface, or other tool provided by or for Walmart in connection with the Walmart Marketplace.
                   By purchasing a product from any of our Marketplace Retailers, you acknowledge that all Walmart Marketplace
                   orders will be fulfilled by the third party Marketplace Retailer and not Walmart. The Marketplace Retailer (and not
                   Walmart) will be responsible for all processing, shipping, returns, and customer service related to your Walmart
                   Marketplace order. Products purchased from a Marketplace Retailer can only be returned to that Marketplace
                   Retailer in accordance with its return policy. Each Marketplace Retailer’s shipping information, return policy,


https://www.walmart.com/help/article/walmart-com-terms-of-use/3b75080af40340d6bbd596f116fae5a0?gclsrc=aw.ds&adid=22222222254421687455&wmlspartner=wmtlabs&wl0=&wl1=g&wl2=c&wl3=314095497094&wl4=dsa-574015752130…   7/16
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                   customer service information, and Marketplace Privacy Policy can be found on that Marketplace Retailer’s Seller
                   Information page. For other terms that apply to Walmart Marketplace, including important notices and
                   disclosures, see About Marketplace.
                   To the fullest extent provided by applicable law, Walmart has no responsibility or liability for any Marketplace
                   Retailer, their products, or representations.

        B. iOS Walmart App

        In addition to your agreement with these Terms of Use, the following provisions apply with respect to your use of any
        version of the Walmart App compatible with the iOS operating system of Apple Inc. (“Apple”):

                   Apple is not a party to these Terms of Use and does not own and is not responsible for any Walmart App. Apple is
                   not providing any warranty for the Walmart App except, if applicable, to refund the purchase price for it. Apple is
                   not responsible for maintenance or other support services for the Walmart App and will not be responsible for
                   any other claims, losses, liabilities, damages, costs, or expenses with respect to the Walmart App, including any
                   third-party product liability claims, claims that the Walmart App fails to conform to any applicable legal or
                   regulatory requirement, claims arising under consumer protection or similar legislation, and claims with respect
                   to intellectual property infringement. Any inquiries or complaints relating to the use of the Walmart App,
                   including those pertaining to intellectual property rights, must be directed to Walmart in accordance with the
                   “How to Contact Us” section.
                   The license you have been granted in these Terms of Use is limited to a non-transferable license to use the
                   Walmart App on an Apple-branded product that runs Apple’s iOS operating system and is owned or controlled by
                   you, or as otherwise permitted by the Usage Rules set forth in Apple’s App Store Terms of Service. In addition,
                   you must comply with the terms of any third-party agreement applicable to you when using the Walmart App,
                   such as your wireless data service agreement.
                   You represent and warrant that (1) you are not located in a country that is subject to a U.S. Government embargo,
                   or that has been designated by the U.S. Government as a “terrorist supporting” country; and (2) you are not listed
                   on any U.S. Government list of prohibited or restricted parties.
                   Apple and Apple’s subsidiaries are third-party beneficiaries of these Terms of Use and, upon your acceptance of
                   the terms and conditions of these Terms of Use, will have the right (and will be deemed to have accepted the
                   right) to enforce these Terms of Use against you as a third-party beneficiary thereof; notwithstanding the
                   foregoing, Walmart’s right to enter into, rescind or terminate any variation, waiver, or settlement under these
                   Terms of Use is not subject to the consent of any third party.

        C. Walmart Pay

        “Walmart Pay” is a feature built into the Walmart App that allows you to use your smartphone to pay for in-store
        purchases. Any use of the Walmart Pay service is subject to the following additional terms:

                   By using Walmart Pay or otherwise by agreeing to these Terms of Use, you agree to receive an eReceipt in lieu of
                   a paper receipt for all purchases made through Walmart Pay. You must register through a Walmart.com account
                   to receive eReceipts (see below for more information).
                   There is no charge from us to use Walmart Pay, but your data service provider’s message and data charges may
                   apply. Except as otherwise provided by law, we may block, restrict, suspend or terminate your use of Walmart Pay
                   at any time, without notice, and in our sole discretion.
                   All Walmart policies applicable to sales occurring at a store location, including those regarding Ad Match, Price
                   Matching, Coupon use, Returns, and Exchanges, apply to purchases made through Walmart Pay. We reserve the
                   right to limit the availability of Walmart Pay during specific times, for specific items, or for certain events or
                   promotions. Some products or services may not be eligible for purchase using Walmart Pay, or may require
                   additional verification prior to completion of purchase through Walmart Pay. These products and services may
                   include but are not limited to: tobacco, alcohol, firearms, optical or photo products and services, or products
                   requiring a service agreement such as wireless, automotive, or financial products.
                   Your device’s camera must be enabled in order to use Walmart Pay to complete the checkout process and to use
                   additional features. Enabling the Walmart App to utilize location services on your device may provide you with
                   access to other Walmart Pay features. You can turn off location services at any time on your device.

        D. eReceipts

        Certain Walmart Sites may permit or require the use of electronic receipts (“eReceipt”) for purchases made by you
        through a mobile device or other electronic device. Your eReceipt is a digital copy of your Walmart in-store purchase
        receipt. Any use of the Walmart eReceipt service is subject to the following additional terms:

                   To register for eReceipts, you must first have an account with Walmart.com and then validate your mobile number
                   via a text message. Walmart.com accounts are subject to these Terms of Use. If you initiate the registration
                   process for eReceipts at the cash register, you will be required to enter a mobile number into the PIN pad and
                   then validate your mobile number via a text message. By registering for Walmart eReceipts, you consent to
                   receive an automated text message and accept any message and data rates that may apply for receipt of a text
                   message.



https://www.walmart.com/help/article/walmart-com-terms-of-use/3b75080af40340d6bbd596f116fae5a0?gclsrc=aw.ds&adid=22222222254421687455&wmlspartner=wmtlabs&wl0=&wl1=g&wl2=c&wl3=314095497094&wl4=dsa-574015752130…   8/16
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                   There is no charge from us to use Walmart eReceipts, but your data service provider’s message and data charges
                   may apply. Walmart and text message carriers are not liable for delayed or undeliverable messages.
                   All information provided to Walmart by users of the Walmart eReceipts will be subject to our Privacy Policy.
                   We may alter, suspend, or terminate your use of Walmart eReceipts at any time at our discretion, without notice
                   to you. We are not responsible for any losses associated with your inability to access the Internet and/or Walmart
                   eReceipts. Requesting an eReceipt at the register will not automatically submit your eReceipt. Use of the Walmart
                   eReceipts service is subject to all applicable laws and regulations.

        E. Walmart Pickup and Delivery (formerly, Online Grocery Services)

        Use of Walmart Pickup and delivery is subject to the following additional terms:

        i. Orders

                   Once you have placed an order for Walmart Pickup and delivery, we will send you an order acknowledgment by
                   email setting out what you have ordered. This is not an order confirmation or acceptance from us.
                   There may be a minimum order value, which may change from time to time. In addition to the price of goods, a
                   delivery charge as shown at checkout, if applicable, will also be payable by you. All prices quoted are exclusive of
                   tax and you will see estimated taxes and fees when you place the order. The final taxes and fees will be calculated
                   on the day your order is picked and delivered, or picked up, as applicable. In the event your order must be fulfilled
                   using products of different weight or volume than what you ordered, you will be charged only for the actual
                   weight or volume delivered.
                   Due to shipment and delivery times, there are limitations on when changes or cancellations to orders can be
                   made. These limitations will be provided when you place your order. For Pickup and delivery orders that are
                   delivered to you, title to the goods purchased by you and the related risk of loss on these items passes to you
                   upon delivery of the items to the carrier.
                   We may, in our discretion, provide you with a refund in certain circumstances. If you are not satisfied with your
                   order, please contact the Walmart Pickup and delivery Contact Center at 1-800-924-9206.
                   Notwithstanding the foregoing, all refunds will be subject to our discretion.
                   We aim to deliver your goods within the delivery or pickup window you selected when placing your order, but do
                   not guarantee that goods will be delivered or available for pickup on or by a certain date. Walmart will not be
                   liable for delivering the goods outside of the requested delivery or pickup slot or failing to deliver or make
                   available for pickup all or any of the goods in your order.
                   We can only deliver to an address stored in your address book in your account.

        ii. Walmart Pickup and delivery Pricing

                   • Pricing for Walmart Pickup and delivery items will be the same prices as if you shopped in the store that packs
                   and delivers the items. If an item's price changes between the time you place your order and the day your order is
                   packed for delivery, we will charge you the lower price. If you have allowed substitutions for your order, you will
                   be charged the price for items received. Please note that due to differences in distribution, regional competition,
                   and other factors, prices may vary between stores, and so the prices you see online may not match all stores, only
                   the store where your order is packed. Walmart Pickup and delivery does not match prices from other online or
                   physical stores, or Walmart stores other than the one where your items are picked and packed.

        iii. Walmart Pickup and delivery Promotion Codes

                   Walmart Pickup and delivery Promotion Codes (“Grocery Promo Codes”) are valid only on orders placed for
                   Walmart online grocery services, subject to the terms of this Section. Your use of a Grocery Promo Code
                   indicates your agreement to be bound by these Terms of Use and any Grocery Promo Code terms on the
                   promotion offer itself. Walmart will only honor a Grocery Promo Code if it is used in accordance with all
                   applicable terms.
                   Only promotional codes issued by Walmart can be used for Walmart Pickup and delivery services. Grocery Promo
                   Codes cannot be used in Walmart stores. Grocery Promo Codes issued by Walmart are, and will remain, the
                   property of Walmart and are not transferable, cannot be resold, and have no cash value unless otherwise stated.
                   Grocery Promo Codes may not be used for alcohol purchases.
                   Grocery Promo Codes can be added to your Walmart Pickup and delivery order by entering the code at checkout
                   or by selecting a saved offer in checkout. To apply a Grocery Promo Code to your order, you must select it in the
                   “Review Order” section at checkout. Use of a Grocery Promo Code may be subject to you providing proof of
                   entitlement to use the Grocery Promo Code.
                   All Grocery Promo Codes have an expiration date after which they cannot be used for any order. Grocery Promo
                   Code values may be adjusted if the total discount value is greater than the value of your order.
                   We reserve the right to withdraw or cancel any Grocery Promo Code at any time, either as a whole, or for specific
                   goods or delivery areas. If this happens, then the Grocery Promo Codes may not be used for any orders placed
                   after the date of withdrawal or cancellation. We reserve the right to reject or cancel the use of a Grocery Promo
                   Code where fraud or misuse is suspected. You will have no claim against Walmart in connection with such
                   rejection or cancellation of a Grocery Promo Code. Walmart will not be liable to any customer or household for
                   any financial loss arising out of the cancellation or withdrawal of any Grocery Promo Code or any failure or
                   inability of a customer to use a Grocery Promo Code for any reason.



https://www.walmart.com/help/article/walmart-com-terms-of-use/3b75080af40340d6bbd596f116fae5a0?gclsrc=aw.ds&adid=22222222254421687455&wmlspartner=wmtlabs&wl0=&wl1=g&wl2=c&wl3=314095497094&wl4=dsa-574015752130…   9/16
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                   Grocery Promo Codes may not be copied, reproduced, published, or distributed directly or indirectly in any form
                   for use by anyone other than the original recipient. By using a Grocery Promo Code, you warrant that you are the
                   duly authorized recipient of it.

        F. Walmart Plus Membership

        Walmart Plus Membership is subject to terms of use that can be found here:
        https://www.walmart.com/help/article/walmart-terms-of-use/de696dfa1dd4423bb1005668dd19b845

        G. Walmart Digital Photo Center

        Any use of the Walmart Digital Photo Center (available at www.walmart.com/Photo) is subject to the following
        additional terms:

                   Walmart claims no ownership rights to the photos, photo files, albums, projects, captions, or prints (collectively
                   defined as “Photos”), that you place in your Walmart Digital Photo Center Account. However, by uploading
                   Photos into your Walmart Digital Photo Center Account, you agree to waive all moral rights to those images. In
                   addition, you grant to Walmart a nonexclusive, worldwide, royalty-free, sublicensable license, so we can
                   download, upload, copy, print, display, reproduce, modify, publish, post, transmit, distribute, and otherwise make
                   available the photos included in your Walmart Digital Photo Center Account for the following purposes: (1)
                   displaying Photos to the people you select; (2) fulfilling orders; (3) improving the Walmart Digital Photo Center
                   service and enabling it to work as designed, including by using automated systems and algorithms to analyze and
                   customize your Photos; and (4) developing new technologies and services for Walmart. We will not use or modify
                   your Photos for any purposes other than the foregoing without obtaining your express permission.
                   You are responsible for monitoring and creating backup copies of the Photos stored in your account. Walmart
                   Digital Photo Center is not provided to you under any warranty. Walmart will not be liable for any damage to your
                   photos, albums, rolls, or uploads, including but not limited to loss, deletion or alteration.
                   Walmart may terminate your service or access to the Walmart Digital Photo Center and delete any and all
                   information, including but not limited to your Photos, without notice, for any reason including, but not limited to
                   (1) your violation of these Terms of Use or other policies set by Walmart elsewhere on the Walmart Sites; (2)
                   online conduct that Walmart believes is harmful to other customers, the business of Walmart, or other third-party
                   information providers; and (3) failure to access your account for one (1) year.
                   Walmart reserves the right to disclose any Photos made available by you or any other customers as necessary to
                   satisfy any law, regulation, or governmental request, or to edit, refuse to submit or to remove any Photos, in
                   whole or in part, that in Walmart’s judgment are unsuitable or in violation of these Terms of Use or other policy
                   set by Walmart elsewhere on the Walmart Sites. Walmart may delete, move, and edit Photos for any reason, at any
                   time, without notice.
                   By making available Photos, you warrant that you are the sole author and owner of the Photos, or that you have
                   obtained all required releases or permissions to permit copying, printing, licensing of the Photos, and your use of
                   the Walmart Digital Photo Center, as set forth in these Terms of Use.
                   Walmart reserves the right to require that you obtain a signed copyright release form from the photographer or
                   studio for photographs that are signed, stamped, or otherwise identified by any photographer or studio as
                   copyrighted material, or any photograph that appears to have been taken by a professional photographer or
                   studio, even if it is not marked with any sort of copyright. In such cases, negatives or digital images of a
                   copyrighted image will be returned to you unprinted and you will be provided instructions on how to present
                   Walmart with a signed copyright release. Copyright owner release forms and copyright permission release forms
                   are available in-store at the Walmart Digital Photo Center.
                   Walmart will not assist in the copying of any state or federal document, including but not limited to driver's
                   licenses, passports, and social security cards.
                   As a convenience to Walmart customers, Walmart may make third-party software available through the Walmart
                   Digital Photo Center either through physical distribution or by download. To use such software, you will agree to
                   the terms and conditions imposed by the third party provider. Unless otherwise stated in any specific agreement,
                   the agreement to use such software will be solely between you and the third party provider.
                   Walmart uses commercially reasonable efforts to maintain the availability of the Walmart Digital Photo Center 24
                   hours a day, 7 days a week, and provide photo processing within the time frame communicated to you. However,
                   Walmart will not be liable to you for any unexpected outage or disruption of service. One-hour photo services are
                   subject to limitations on store equipment and processing capacity, and actual pick-up times may vary.
                   Making available any Photos to Walmart for processing, printing, storage, transmission or other handling
                   constitutes an agreement by you that any damage to your Photos or computer system, or any loss of data, by
                   Walmart, its subsidiaries, employees, or agents, even if caused by negligence or other fault, will only entitle you to
                   replacement with a like amount of storage and processing. Except for replacement, to the fullest extent provided
                   by applicable law, the handling of any Photos is not under warranty or liability, and recovery for any incidental or
                   consequential damages is excluded.
                   You understand and agree that any Content, including but not limited to Photos and software, downloaded or
                   otherwise obtained through the use of the Walmart Digital Photo Center is done at your own discretion and risk
                   and that you will be solely responsible for any damages to your computer system or loss of data that may result in
                   the download or upload of such material. Your use of the Walmart Digital Photo Center may expose you to Photos
                   you may feel objectionable. You take sole responsibility for such exposure.


https://www.walmart.com/help/article/walmart-com-terms-of-use/3b75080af40340d6bbd596f116fae5a0?gclsrc=aw.ds&adid=22222222254421687455&wmlspartner=wmtlabs&wl0=&wl1=g&wl2=c&wl3=314095497094&wl4=dsa-57401575213…   10/16
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        H. Reserved.

        I. Walmart Registry for Good

        Any use of the Walmart Registry for Good (available at https://walmart.com/registry/registryforgood/welcome) is
        subject to the following additional terms:

        i. Eligibility

                   Participation in Registry for Good Site is limited to Walmart.com accounts that have been associated with an
                   eligible recognized 501(c)(3) organization (“Charity”) as verified by Walmart or its third party service provider.
                   Each Walmart.com account may create only one Registry for Good.
                   Charities may be required to verify their compliance with these Terms, including verification that the Charity
                   meets, or continues to meet the definition of a charity. Walmart may monitor the Charity’s website or other
                   information to verify its compliance with these Terms.

        ii. Solicitation

                   Charities may elect to make their Registry for Good searchable on the Registry for Good Site or may elect to
                   make the registry private and available only to those who have a link.
                   Charities are solely responsible for compliance with all solicitation regulations under each jurisdiction where they
                   promote their Registry for Good, or the Registry for Good Site or any portion thereof.
                   Charities acknowledge and agree that they are not entitled to receive, and Walmart will not provide, any
                   identifiable customer information in respect of purchases made from any Registry for Good. Walmart will not
                   promote any Charity or its Registry for Good.

        iii. List Address

                   Walmart.com customers may purchase items selected by a Charity for its registry and choose to direct Walmart
                   to deliver them to the address designated by the Charity (“List Address”) or customers may choose to deliver the
                   items to the Charity directly.
                   List Addresses provided by the Charity must be owned or leased by the Charity. Charities must promptly update
                   their List Address (and any other information requested by Walmart) if the Charity address changes or it ceases
                   holding a valid ownership or leasehold interest in the List Address. An agreement with a mail delivery agent or
                   delivery service is not considered a leasehold for purposes of these Terms. By participating in the Registry for
                   Good program, Charities consent and allow Walmart or any of its affiliates to share the List Address with any
                   seller that offers items on your Registry for Good that a customer elects to purchase and send to the Charity List
                   Address.

        iv. Charity Promotion

                   Charities may only promote or link to their Registry for Good on their own website, user-generated content
                   published through a social media account, or page belonging to the Charity, offline mailings, or email
                   correspondence, and may only use such of Walmart’s trademarks or logos, links to the Registry for Good Site, or
                   other Walmart Content Walmart may make available to the Charity, in all cases in accordance with the following
                   restrictions:
                         Charities may not promote or link to the Registry for Good, or the Registry for Good Site, in a way that is
                         misleading, illegal, or confusing to viewers or that does not accurately represent the Registry for Good
                         program.
                         Charities may not state, or imply that Walmart funds, endorses, supports or is otherwise engaged in
                         business with a Charity.
                         Charities may not request, collect, obtain, store, cache, or otherwise use any account information of, or
                         used by, other Walmart customers.
                         Charities may not modify, redirect, suppress, or substitute the operation of any button, link, or other
                         feature of the Walmart Content or the Registry for Good Site.
                         Charities may not frame your Registry for Good or the Registry for Good Site, or any part of it, on your own
                         website, social media account, mailings or correspondence. Displaying a link in accordance with these Terms
                         will not be considered framing.
                   Walmart reserves the right to terminate any Charity participation in the Registry for Good, or suspend access to
                   the Registry for Good site for violation of these Terms, in addition to any other remedies available to Walmart
                   under these Terms or applicable law.

        J. Chatbots and Use of Generative AI.

        The Walmart Sites may include Chatbots and other Generative AI, and Materials on the Walmart Sites may be
        generated by Generative AI (the “Generative AI Features”). The Generative AI Features are subject to the following
        additional terms.

                   Due to the nature of Generative AI, the information, responses and recommendations generated for you and
                   other users through Generative AI Features (collectively, the “Output”) may not be accurate, complete or up-to-
                   date and may be misleading or contain errors and omissions, or the Generative AI Features may misunderstand

https://www.walmart.com/help/article/walmart-com-terms-of-use/3b75080af40340d6bbd596f116fae5a0?gclsrc=aw.ds&adid=22222222254421687455&wmlspartner=wmtlabs&wl0=&wl1=g&wl2=c&wl3=314095497094&wl4=dsa-57401575213…   11/16
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                   the Content that you input (the “Input”) and may be responding to a different question than asked. You should
                   review and verify the Output before making any purchases, engaging in other transactions from the Walmart
                   Sites, or taking any other action based on any such Output.
                   Unless an associated disclosure states otherwise, the Output may be based on information available on
                   Walmart.com or provided by manufacturers, suppliers, or sellers of items, Walmart service providers, customer
                   reviews, or other publicly available information, and third-party AI models. None of these sources have been
                   verified by Walmart. Any views or opinions expressed in the Output do not necessarily reflect those of Walmart
                   and should not be attributed to Walmart.

                   The Output provided by the Generative AI Features are intended for general informational purposes only. You
                   should not use any Output provided by the Generative AI Features as the basis for making any legal, safety,
                   health, regulatory, or similarly important decision. Users of the Generative AI Features are solely responsible for
                   independently verifying and evaluating the Output, and for any decisions they make based on the Output.
                   Further, you understand that due to the nature of machine learning and Generative AI, the Output from the
                   Generative AI Features may not be unique across users, and the Generative AI Features may generate or return
                   the same or similar Output to Walmart or a third party, and other users may also ask similar questions and receive
                   the same or similar responses. Outputs that are requested by and generated for other users are not considered
                   your Content. However, you are responsible for any Input you submit to the Generative AI Features.

                   Do not share any sensitive or personal data, or any proprietary or confidential information with the Generative AI
                   Features. Additionally, you understand and agree that Input to the Generative AI Features may not be kept
                   confidential, and any of your Content (including but not limited to the Inputs), as well as your purchasing history
                   from the Walmart Sites, your use of promotions as well as personal information, may be used to further enhance
                   and improve the Generative AI Features, the underlying model and the Walmart Sites as well as to generate
                   Output. Inputs will be collected, used and retained by Walmart in order to answer questions and inquiries from
                   you as well as other users, to help improve how the Generative AI Features operate, and for the other purposes
                   described in Walmart’s Privacy Policy. Though you have a right to use all Outputs generated by the Generative AI
                   Features, the Outputs are owned by Walmart.
                   The Generative AI Features are provided on an “as is” and “as available” basis, and the Walmart Entities do not
                   make any representations or warranties of any kind, express or implied, in relation to merchantability, accuracy
                   (of materials data or any other information, response, results or content) and fitness for a particular purpose. The
                   Walmart Entities do not warrant that the Generative AI Features will operate without interruption or be accurate,
                   complete or error free, or that the Generative AI Features will meet your expectations, or that any Content and
                   Materials processed or generated by the Generative AI Features will be secure, not lost, or altered.
                   Walmart Entities will not be liable for your use or inability to use the Generative AI Features, any inaccurate
                   information generated by the Generative AI Features, or any Materials generated by the Generative AI Features
                   or generated from the Walmart Sites.


        17. Disclaimer of Warranties
        THE WALMART SITES, AND ALL CONTENT, MATERIALS, PRODUCTS, SERVICES, FUNCTIONALITY, AND OTHER
        ITEMS INCLUDED ON OR OTHERWISE MADE AVAILABLE TO YOU THROUGH THE WALMART SITES, AND/OR
        WALMART STORE LOCATIONS, ARE PROVIDED BY WALMART ON AN “AS IS” AND “AS AVAILABLE” BASIS. NO
        WALMART ENTITY MAKES ANY REPRESENTATIONS OR WARRANTIES OF ANY KIND, EXPRESS OR IMPLIED, AS TO
        THE OPERATION OF THE WALMART SITES OR THE CONTENT, MATERIALS, PRODUCTS, SERVICES,
        FUNCTIONALITY, OR OTHER ITEMS INCLUDED ON OR OTHERWISE MADE AVAILABLE TO YOU. TO THE FULLEST
        EXTENT PERMISSIBLE BY APPLICABLE LAW, THE WALMART ENTITIES DISCLAIM ALL WARRANTIES, EXPRESS,
        STATUTORY OR IMPLIED, INCLUDING IMPLIED WARRANTIES OF MERCHANTABILITY AND FITNESS FOR A
        PARTICULAR PURPOSE. WITHOUT LIMITING THE FOREGOING, THE WALMART ENTITIES DISCLAIM ANY AND ALL
        WARRANTIES, EXPRESS OR IMPLIED, FOR ANY MERCHANDISE OFFERED. YOU ACKNOWLEDGE THAT, TO THE
        FULLEST EXTENT PROVIDED BY APPLICABLE LAW, YOUR USE OF THE WALMART SITES IS AT YOUR SOLE RISK.
        THIS SECTION 17 DOES NOT LIMIT THE TERMS OF ANY PRODUCT WARRANTY OFFERED BY THE
        MANUFACTURER OF AN ITEM THAT IS SOLD BY WALMART TO YOU. THIS DISCLAIMER CONSTITUTES AN
        ESSENTIAL PART OF THESE TERMS OF USE. TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, YOU
        ASSUME FULL RESPONSIBILITY FOR YOUR USE OF THE WALMART SITES AND AGREE THAT ANY INFORMATION
        YOU SEND OR RECEIVE DURING YOUR USE OF THE WALMART SITES MAY NOT BE SECURE AND MAY BE
        INTERCEPTED OR OTHERWISE ACCESSED BY UNAUTHORIZED PARTIES. YOU AGREE THAT, TO THE FULLEST
        EXTENT PERMITTED BY APPLICABLE LAW, NO WALMART ENTITY IS RESPONSIBLE FOR ANY LOSS OR DAMAGE
        TO YOUR PROPERTY OR DATA THAT RESULTS FROM ANY MATERIALS YOU ACCESS OR DOWNLOAD FROM THE
        WALMART SITES. SOME STATES DO NOT ALLOW LIMITATIONS ON HOW LONG AN IMPLIED WARRANTY LASTS,
        SO THE FOREGOING LIMITATIONS MAY NOT APPLY TO YOU.


        18. Limitation of Liability
        YOU ACKNOWLEDGE AND AGREE THAT, TO THE FULLEST EXTENT PROVIDED BY APPLICABLE LAW, WALMART
        ENTITIES WILL NOT BE LIABLE TO YOU OR TO ANY OTHER PERSON UNDER ANY CIRCUMSTANCES OR UNDER
        ANY LEGAL OR EQUITABLE THEORY, WHETHER IN TORT, CONTRACT, STRICT LIABILITY, OR OTHERWISE, FOR
        ANY INDIRECT, SPECIAL, INCIDENTAL, OR CONSEQUENTIAL LOSSES OR DAMAGES OF ANY NATURE EVEN IF

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        AN AUTHORIZED REPRESENTATIVE OF A WALMART ENTITY HAS BEEN ADVISED OF OR SHOULD HAVE KNOWN
        OF THE POSSIBILITY OF SUCH DAMAGES. TO THE FULLEST EXTENT PROVIDED BY APPLICABLE LAW, THIS
        DISCLAIMER APPLIES TO, BUT IS NOT LIMITED TO, ANY DAMAGES OR INJURY ARISING FROM ANY FAILURE OF
        PERFORMANCE, ERROR, OMISSION, INTERRUPTION, DELETION, DEFECTS, DELAY IN OPERATION OR
        TRANSMISSION, LOST PROFITS, LOSS OF GOODWILL, LOSS OF DATA, WORK STOPPAGE, ACCURACY OF
        RESULTS, COMPUTER FAILURE OR MALFUNCTION, COMPUTER VIRUSES, FILE CORRUPTION,
        COMMUNICATION FAILURE, NETWORK OR SYSTEM OUTAGE, THEFT, DESTRUCTION, UNAUTHORIZED ACCESS
        TO, ALTERATION OF, LOSS OF USE OF ANY RECORD OR DATA, AND ANY OTHER TANGIBLE OR INTANGIBLE
        LOSS. SUBJECT TO THE FOREGOING, TO THE FULLEST EXTENT PROVIDED BY APPLICABLE LAW, NO WALMART
        ENTITY WILL BE LIABLE FOR ANY DAMAGES IN EXCESS OF THE FEES PAID BY YOU IN CONNECTION WITH YOUR
        USE OF THE WALMART SITES DURING THE SIX (6) MONTH PERIOD PRECEDING THE DATE ON WHICH THE
        CLAIM AROSE.

        YOU SPECIFICALLY ACKNOWLEDGE AND AGREE THAT, TO THE FULLEST EXTENT PROVIDED BY APPLICABLE
        LAW, NO WALMART ENTITY WILL BE LIABLE FOR ANY DEFAMATORY, OFFENSIVE, OR ILLEGAL CONDUCT OF
        ANY SELLER (INCLUDING ANY MARKETPLACE RETAILER), SHOPPER, OR OTHER USER OF THE WALMART SITES.


        19. Indemnification
        You agree to defend (at Walmart’s option), indemnify, and hold the Walmart Entities harmless from and against any and
        all liabilities, claims, damages, costs, and expenses, including attorneys’ fees and costs, arising from or related to your
        misuse of the Walmart Sites or any breach by you of these Terms of Use. Walmart reserves the right, at our expense, to
        assume exclusive defense and control of any matter otherwise subject to indemnification by you and, in any case, you
        agree to cooperate with Walmart if and as requested by Walmart in the defense and settlement of such matter.


        20. Disputes, Arbitration, and Applicable Law
        PLEASE READ THIS SECTION CAREFULLY. IT MAY SIGNIFICANTLY AFFECT YOUR LEGAL RIGHTS, INCLUDING
        YOUR RIGHT TO FILE A LAWSUIT IN COURT.

              1. Arbitration Agreement.

        EXCEPT FOR DISPUTES THAT QUALIFY FOR SMALL CLAIMS COURT, YOU AGREE THAT ALL DISPUTES ARISING
        OUT OF OR RELATED TO THESE TERMS OF USE OR ANY ASPECT OF THE RELATIONSHIP BETWEEN YOU AND
        WALMART, INCLUDING ANY PRODUCTS OR SERVICES OFFERED OR SOLD BY WALMART OR THE WALMART
        ENTITIES, WHETHER BASED IN CONTRACT, TORT, STATUTE, FRAUD, MISREPRESENTATION, OR ANY OTHER
        LEGAL THEORY, WILL BE RESOLVED THROUGH FINAL AND BINDING ARBITRATION BEFORE A SINGLE NEUTRAL
        ARBITRATOR INSTEAD OF IN A COURT BY A JUDGE OR JURY. EXCEPT AS OTHERWISE PROVIDED IN THESE
        TERMS OF USE, YOU AND WALMART AGREE THAT EACH IS WAIVING THE RIGHT TO SUE IN COURT AND TO
        HAVE A TRIAL BY A JURY. This paragraph may be referred to as the Arbitration Agreement in these Terms of Use.

             2. Class Action and Mass Action Waiver.

        YOU AND WALMART AGREE THAT ANY ARBITRATION REQUIRED BY THE ARBITRATION AGREEMENT WILL TAKE
        PLACE ON AN INDIVIDUAL BASIS. You and Walmart each agree to waive the right to have any dispute or claim subject
        to the Arbitration Agreement brought, heard, administered, resolved, or arbitrated as a class arbitration, class action,
        collective action, or Mass Action to the maximum extent permitted by law. “Mass Action” means a situation in which a
        party is represented by a law firm or other representative, or a collection of law firms or other representatives, that has
        initiated more than one hundred (100) arbitration Demands with common questions of law or fact against Walmart
        within 180 days of initiating your arbitration Demand. This paragraph may be referred to as the “Class Action and Mass
        Action Waiver” in these Terms of Use. Nothing in these Terms of Use precludes you from bringing issues to the
        attention of federal, state, or local government agencies and, if the applicable law allows, such agencies may seek relief
        against Walmart for you.

             3. Initiating a Demand for Arbitration.

        Any arbitration required by the Arbitration Agreement shall be initiated by You or Walmart by sending the other a
        written demand for arbitration (“Demand”) only via first-class mail, FedEx, or UPS within the statute of limitations
        period. Your Demand shall be delivered to: Walmart Inc. Legal Department, 702 SW 8th Street, Mailstop 0215,
        Bentonville, AR 72716. The Demand must include (i) the name, telephone number, mailing address, and email address of
        the person or entity seeking arbitration; (ii) a statement of the legal claims asserted and the factual basis for those
        claims; (iii) a description of the remedy sought and an accurate, good-faith calculation of the amount in controversy;
        (iv) the original personal signature of the party seeking arbitration; and (v) the original personal signature of any legal
        counsel or other representative purporting to represent the party seeking arbitration. For purposes of this paragraph,
        “original personal signature” does not include any digital, scanned, electronic, copied, or facsimile signature. An original
        personal signature on the Demand certifies the following: (i) the Demand is not being presented for any improper
        purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation; (ii) the claims and
        other legal contentions are warranted by existing law or by a non-frivolous argument for extending, modifying, or
        reversing existing law or for establishing new law; and (iii) the factual contentions have evidentiary support or, if


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        specifically so identified, will likely have evidentiary support after a reasonable opportunity for further investigation or
        discovery. The original personal signature by the party seeking arbitration shall verify under penalty of perjury that the
        factual statements contained in the Demand are true and correct. Compliance with this paragraph tolls any applicable
        statute of limitations as to any dispute or claim subject to the Arbitration Agreement that is stated in the Demand.

             4. Filing a Demand for Arbitration.

        A party seeking arbitration of any dispute or claim subject to the Arbitration Agreement shall submit a copy of the
        Demand to the American Arbitration Association (“AAA”) sixty (60) or more days after the Demand is initiated
        pursuant to Section 20.3 of these Terms of Use. The arbitration will be administered by the AAA pursuant to the current
        AAA Consumer Arbitration Rules, except to the extent modified by these Terms of Use. The AAA rules and instructions
        are available on the AAA website at www.adr.org/consumer.

             5. Conduct of Arbitration.

        In any arbitration of a dispute or claim that is subject to the Arbitration Agreement:

             1. You or Walmart may file such dispositive motions as would be permitted by the Federal Rules of Civil Procedure
                without obtaining permission from the arbitrator. Upon the filing of any dispositive motion, the arbitrator may
                stay all further action and deadlines in the arbitration until deciding such motion.
             2. The parties shall have the right to conduct such discovery from the opposing party or any third party that is
                proportional to the needs of the claim or dispute, considering the importance of the issues at stake, the amount
                in controversy, the importance of the discovery in resolving the issues, and whether the burden or expense of the
                proposed discovery outweighs its likely benefit. Proportionality shall be decided by the arbitrator when requested
                by either party.
             3. The arbitrator shall conduct any calls, conferences, or hearings by teleconference or videoconference, unless the
                arbitrator determines that an in-person hearing is appropriate. Any in-person hearing will be held at a location
                that is reasonably convenient. You and an employee of Walmart shall attend all arbitrator calls, conferences, and
                hearings.
             4. A party may make a written offer of judgment at least seven (7) days before the date set for the arbitration
                hearing.
             5. If the arbitrator finds that a party’s claim, counterclaim, or appeal was frivolous, asserted in bad faith, or pursued
                for purposes of harassment, the arbitrator shall award the opposing party its attorneys’ fees, costs, and expenses
                and all amounts charged by AAA for the arbitration.
             6. The arbitrator will follow these Terms of Use and the law. The arbitrator shall not have the authority to commit
                errors of law or legal reasoning. The arbitrator may award relief only in favor of the individual party seeking relief
                and only to the extent necessary to provide relief warranted by that individual party’s claim. The arbitrator may
                not award relief for or against anyone who is not a party, though the individual relief awarded by the arbitrator
                may incidentally affect non-parties.
             7. You or Walmart may appeal an arbitration award that manifestly disregards the law by filing a notice of appeal with
                the AAA within 30 days after an award is rendered and delivered to the parties. The appeal shall be heard by a
                single arbitrator unless the parties agree to a multi-arbitrator appellate panel. The arbitrator(s) assigned to the
                appeal shall be selected by agreement of the parties from among those on the AAA Appellate Panel. If the parties
                are unable to agree, AAA shall appoint the arbitrator(s) from among those on the AAA Appellate Panel. An
                arbitrator who previously presided over any aspect of a case shall be ineligible from serving as an appellate
                arbitrator in that same case. The appeal, including briefing, shall be conducted pursuant to the parties’ agreement
                or the appellate arbitrator(s)’ orders if the parties are unable to agree.

             6. Process for Arbitration Bellwether Demands.

        If twenty-five (25) or more Demands for arbitration of a dispute or claim subject to the Arbitration Agreement are
        initiated (i) that involve common questions of law or fact and (ii) where the initiating parties are represented by the
        same law firm, the same group of coordinated law firms, or the same representative, then such Demands shall be
        coordinated pursuant to this paragraph. The group of claimants and group of respondents shall each select five (5)
        Demands, for a total of ten (10), to be filed with AAA (collectively the “Bellwether Demands”). Each of the Bellwether
        Demands shall be assigned by AAA to a different arbitrator chosen from its national roster. After ninety (90) days from
        the date all Bellwether Demands have been arbitrated and any appeals exhausted, any remaining Demands subject to
        this paragraph may be filed with AAA. The AAA Supplementary Rules for Multiple Case Filings shall apply to the extent
        they are not inconsistent with this paragraph. Notwithstanding any other provision in the Terms of Use, You and
        Walmart agree that a court of competent jurisdiction shall have authority to enforce the terms of this paragraph with
        injunctive or other relief.

              7. Severability.

        If (i) any dispute or claim subject to the Arbitration Agreement is filed as a class arbitration, class action, collective
        action, representative action, or Mass Action and (ii) if the Class Action and Mass Action Waiver is held invalid or
        unenforceable as to such dispute or claim, then the Arbitration Agreement does not apply to that dispute or claim and
        such dispute or claim must be brought in a court of competent jurisdiction. If any provision of Section 20 other than
        the Class Action and Mass Action Waiver is held invalid or unenforceable as to a particular dispute or claim, then such
        provision shall be severed from the Terms of Use, and the remainder of the Terms of Use shall be enforceable to the
        maximum extent permitted by law.

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             8. Applicable Law.

        The Federal Arbitration Act (“FAA”) governs the interpretation and enforcement of Section 20 of these Terms of Use.
        If the FAA is found not to apply to any portion of Section 20 of these Terms of Use, then the applicable laws of the
        State of Arkansas shall apply without regard to choice-of-law principles.


        21. Termination
        These Terms of Use are effective unless and until terminated by either you or Walmart. You may terminate these Terms
        of Use at any time, provided that you discontinue any further use of the Walmart Sites. We also may terminate these
        Terms of Use at any time and may do so immediately without notice, and deny you access to the Walmart Sites, if in our
        sole discretion you fail to comply with any term or provision of these Terms of Use. Upon any termination of these
        Terms of Use by either you or Walmart, you must promptly destroy all Materials and other Content downloaded or
        otherwise obtained from the Walmart Sites, as well as all copies of such Content, whether made under these Terms of
        Use or otherwise. The following sections will survive any termination of these Terms of Use: “Your Use of the Walmart
        Sites,” “Content and Ideas,” “Monitoring by Walmart,” “Materials Available on the Walmart Sites,” “Merchandise,” “Third
        Party Sites,” “Placing an Order with Walmart,” “Shipping and Delivery,” “Export Policy,” “Intellectual Property”
        (excluding the rights granted to you in that Section), “Privacy,” “Third-Party Software & Licensing Notices,”
        “Indemnification,” “Termination,” “Disclaimer of Warranties,” “Limitation of Liability,” “Disputes & Arbitration,” and
        “General”.


        22. General
        These Terms of Use represent the complete agreement and understanding between you and Walmart and supersede all
        prior agreements and representations between the parties with respect to the subject matter of these Terms of Use.
        These Terms of Use do not, and shall not be construed to, create any partnership, joint venture, employer-employee,
        agency, or franchisor-franchisee relationship between you and Walmart. Headings used in these Terms of Use are for
        reference purposes only and in no way define or limit the scope of the section. Except as provided in Section 20 above,
        if any provision of these Terms of Use is held to be unenforceable for any reason, such provision will be reformed only
        to the extent necessary to make it enforceable and the other terms of these Terms of Use will remain in full force and
        effect. Except as provided in Section 20 above, these Terms of Use shall be interpreted and governed by the applicable
        laws of the State of Arkansas without regard to choice-of-law principles. The failure of Walmart to act with respect to a
        breach of these Terms of Use by you or others does not constitute a waiver and will not limit Walmart's rights with
        respect to such breach or any subsequent breaches. You may not assign, transfer, or sublicense any or all of your rights
        or obligations under these Terms of Use without our express prior written consent. We may assign, transfer, or
        sublicense any or all of our rights or obligations under these Terms of Use without restriction. Any use of the term
        “including” or variations thereof in these Terms of Use shall be construed as if followed by the phrase “without
        limitation.” Notices to you (including notices of changes to this these Terms of Use) may be made via posting to the
        Walmart Sites or by e-mail (including in each case via links), or by regular mail. Without limitation, a printed version of
        these Terms of Use and of any notice given in electronic form shall be admissible in judicial or administrative
        proceedings based upon or relating to these Terms of Use to the same extent and subject to the same conditions as
        other business documents and records originally generated and maintained in printed form.


        23. Filtering
        This is to notify you that parental control protections (such as computer hardware, software, or filtering services) are
        commercially available that may assist you in limiting access to material that is harmful to minors. Information
        identifying current providers of such protections is available from
        https://en.wikipedia.org/wiki/Comparison_of_content-control_software_and_providers. Please note that we do not
        endorse any of the products or services listed on such site.


        24. How to Contact Us
        If you have any questions or comments, please contact us at https://walmart.com/help, or by mail at the following
        address: Walmart.com; 850 Cherry Ave., San Bruno, CA 94066. Please note that e-mail communications will not
        necessarily be secure; accordingly, you should not include credit card information or other sensitive information in your
        e-mail correspondence with us. California residents may reach the Complaint Assistance Unit of the Division of
        Consumer Services of the California Department of Consumer Affairs by mail at 1625 North Market Blvd., Sacramento,
        CA 95834, or by telephone at (916) 445-1254 or (800) 952-5210.

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